                 Case 2:11-cv-00973-ABC-CW Document 50 Filed 10/15/12 Page 1 of 2 Page ID #:532



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                         8                           UNITED STATES DISTRICT COURT
                         9                         CENTRAL DISTRICT OF CALIFORNIA
                      10                                     WESTERN DIVISION
                      11
                               VERIZON CALIFORNIA INC.;                      Case No. CV 11-00973 ABC (CWx)
                      12       VERIZON TRADEMARK SERVICES
                               LLC; and VERIZON LICENSING
                      13       COMPANY,
                                                                             [PROPOSED] ORDER
                      14                    Plaintiffs,                      GRANTING STIPULATION TO
                                                                             DISMISS CASE WITHOUT
                      15             vs.                                     PREJUDICE
                      16       ABOVE.COM PTY LTD; TRELLIAN
                               LIMITED; TRELLIAN LLC; DAVID
                      17       WARMUZ; RENE WARMUZ a/k/a
                               REN WARMUZ; and DOES 1-10,
                      18                                                     Hon. Audrey B. Collins
                                            Defendants and Third-Party
                      19                                    Plaintiffs,
                      20             vs.
                      21       OLIVER GOLDSMITH,
                      22                    Third-Party Defendant.
                      23
                      24             Pursuant to the Stipulation of Plaintiffs, Verizon California Inc., Verizon
                      25       Trademark Services, LLC, and Verizon Licensing Company (“Plaintiffs”) and
                      26       Defendants, Above.Com Pty Ltd, Trellian Limited, Trellian LLC, David Warmuz,
                      27       and Rene Warmuz a/k/a Ren Warmuz (“Defendants”) (Plaintiffs and Defendants
                      28       are collectively referred to as the “Parties”), and good cause appearing:

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                 Case 2:11-cv-00973-ABC-CW Document 50 Filed 10/15/12 Page 2 of 2 Page ID #:533



                         1              1.       Plaintiffs’ Complaint is dismissed without prejudice.
                         2              2.       Third-Party Defendant Oliver Goldsmith (“Goldsmith”) has not
                         3     appeared in this Action.
                         4              3.       The Parties and Goldsmith have entered into a confidential
                         5     settlement agreement (“Confidential Settlement Agreement”) that, once fully
                         6     performed, resolves all claims in this Action.             The Confidential Settlement
                         7     Agreement requires performance until June 30, 2014.
                         8              4.       The Parties have entered into a tolling agreement (“Tolling
                         9     Agreement”), tolling the statute of limitations for all claims pending in this
                      10       Action until August 31, 2014. The Tolling Agreement permits the Parties to
                      11       dismiss the current Action without prejudice, and to file a new action should the
                      12       performance required under the Confidential Settlement Agreement not be
                      13       performed.
                      14                5.       All remaining upcoming deadlines and hearings on the Court docket
                      15       are vacated.
                      16                6.       The Parties shall each bear their own attorneys’ fees and costs.
                      17                7.       The Court shall retain jurisdiction of this matter.
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                      19       IT IS SO ORDERED.

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                               Dated: October 15, 2012
                      21                                                    Audrey B. Collins
                      22                                                    United States District Judge

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